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     AO 436
  (Rev.04/l3)                          ADMINISTRATIVE OFFICE OF THE UIJITED STATES COURTS
ReQd,nst,,,~ho,~.                                      AUDIO RECORDING ORDER
1. NAME                                                                             2. PHONE NUMBER                        3. EMAIL ADDRESS
STEVEN CHUNG                                                                        (818)925-4699                          STEVEN@STEVENCHUNG.BIZ
4. MAILING ADDRESS                                                                  5. CITY                                6. STATE                   7. ZIP CODE
13245 SOUTH ST                                                                      CERRITOS                               CA                         90703
S. CASE NUMBER                            9. CASE NAME                                                     DATES OF PROCEEDINGS
CV 19-08024-ODW(JCx)                      BAKER V. ALLSTATE                         10. FROM                               i i. To
12. PRESIDING JUDGE                                                                                   LOCATION OF PROCEEDINGS
OTIS WRIGHT                                                                         13. cITY   LOS ANGELES         14. STATE CA

                                                                          15. ORDER FOR
❑    APPEAL                               ❑CRIMINAL                               ❑CRIMINAL NSTICE ACT                     ❑BANKRUPTCY
❑    NON-APPEAL                          ~ CIVIL                                  ❑ IN FORMA PAUPERIS                      ❑OTHER (Specify)

              16. AUDIO RECORDING REQUESTED (Specify portions)and dates)ofproceeding(s)for which duplicate recordings are requested.)
               PORTION(S)                                   DATES)                               PORTIONS)                                     DATES)
     VOIR DIRE                                                                         TESTIMONY (specify w:rnrss)
     OPENING STATEMENT (Plaintii~
     OPENRJG STATEMENT(Defendant)
     CLOSING ARGUMENT(Plaintit~                                                        PRE-TRIAL PROCEEDING(Specijy)                      -                         `,
     CLOSING ARGUMENT(Defendant)                                                                                                                      ~
     OPINION OF COURT                                                                                                                _.
     NRY INSTRUCTIONS                                                                  OTHER (Specify)                                        ,,, ,
     SENTENCING                                                                     ORDER TO SHOW CAUSE 1Z 6/~D"fg
     BAIL HEARING                                                                                                                    `

                                                                             17.ORDER
                                                                                    NO. OF COPIES REQUESTED                     ~             ~ COST
❑    DUPLICATE TAPES)FOR PLAYBACK ON A STANDARD
     CASSETTE RECORDER
❑    RECORDABLE COMPACT DISC - CD

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     A roved Media

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            CERTIFICATION (18.& 19.) By signing below, I certify that I will pay all charges(deposit plus additional) upon completion ofthe order.
18. SIGNATURE                                                                                                              19. DATE



PROCESSED BY                                                                                                               PHONE NUMBER


                                                    DATE                BY
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PARTY RECEIVED AUUtO R6CO~iDING                                                                  TOTAL DUE..
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